                05-44481-rdd       Doc 9692-5       Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit C-2
      In re Delphi Corporation, et al.                       Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT C-2 - UNTIMELY BOOKS AND RECORDS CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED                      DATE              DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT                    FILED              DEBTOR


  JOSE C ALFARO AND MARTHA                   16471              Secured:                          01/04/2007   DELPHI CORPORATION
  ALFARO                                                         Priority:                                     (05-44481)
  1301 OAK ST                                              Administrative:
  HAYS, KS 67601                                              Unsecured:            $500,000.00
                                                                    Total:          $500,000.00

                                   Total:       1                               $500,000.00




*UNL stands for unliquidated
                                                                      Page 1 of 1
